lN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT ()F MISSGURI

WESTERN DIVISIGN
DARRELL McCLANAHAN and, )
APRIL MlLLER-MCCLANAHAN, )
Plaintiffs, §
vs. § Case No. 16-l086-CV-W-ODS
CHIEF MARK LAMPHIER, §
Defendant. §

STATUS REPORT

This is a 42 U.S.C. § 1983 civil rights proceeding Plaintiff Darrell l\/lcClanahan, and his
vvife, April Miller-McClanahan, allege violations of their federally protected rights, essentially
alleging that Lexington, Missouri Police Chief l\/lark Lamphier falsely arrested Darrell
McClanahan, and used excessive force While taking him into custody.

On October 30, 2017, the Court entered its Order (Doc. No. 30) granting Defendant’s
Motion to Stay Proceedings (Doc. No. 24) and administratively closed this case pending final
disposition of the criminal charges Which Were then pending against Darrell McClanahan in the
Circuit Couit of Lexington County, l\/lissouri, in Smte v. McClanahan, Case No. l6LF-CR00130.
The Court also directed the parties “. . .\to inform the Couit of the final disposition of the criminal
charges and post-conviction proceedings in Plaintiff Darrell McClanahan’s state court
proceedings.”

lt has come to the Defendant’s attention that on January 5, 2018, apparently as the result
of plea negotiations, the Lafayette County Prosecuting Attorney filed an “lnformation in Lieu of
lndictmen ” (copy attached as Exhibit l) reducing the felony charges of stealing by deceit and
resisting arrest to their misdemeanor counterparts That same date, Plaintiff Darrell McClanahan

{00341813}

Case 4:16-cv-01086-ODS Document 31 Filed 05/11/18 Page 1 of 3

filed a Written “Waiver of Rights and Plea of Guilty” (copy attached as Exhibit 2) in Which he pled
guilty to the misdemeanor counts of stealing by deceit and resisting arrest. The state trial couit
then entered its Judgment (copy attached as EXhibit 3) sentencing Plaintiff Darrell McClanahan to
two days incarceration on each of the two counts to Which he pled guilty, With credit for time
served, and also imposed a fine of SSO0.00 on each count.

The time for filing an appeal and/or post-conviction proceedings in the underlying state
criminal matter have passed Without any fuither action by Plaintiff Darrell l\/lcClanahan.
Consequently, it appears that this case is now in a posture to be re-opened, after Which it Will be
ripe for the filing of a motion to dismiss on Defendant’s behalf.

Respectfully submitted,

FlSHER, PATTERSON, SAYLER & SMITH, LLP

/s/ David S. Baker
David S. Bal<er #30347
9229 Ward Parkway, Suite 370
Kansas City, MO 641 l4
816~523~4667,Ext. lZl; Fax: 816-523-5667
dbaker@fisherpatterson.com
Atl.‘orneysfor Defendcmt

CERTIFICATE OF SERVICE

l hereby certify that on May ll, 2018, l electronically filed the foregoing With the Clerk of
the Court and that an electronic notice of filing and a copy of the foregoing Will automatically be
sent to the following:

Warren R. Markowitz

The l\/Iarkowitz LaW F irm

7260 W. Azure Dr., Ste. 140-100

Las Vegas, NV 89130

(702) 749-5831, Ext. lOO; Fax (702) 749-5832
Warren@MarkowitzLaWFirm.com

{00341813}

Case 4:16-cv-01086-ODS Document 31 Filed 05/11/18 Page 2 of 3

and

Kevin L. Jamison
2614 NE 56th Ten~ace
Gladstone, MO 641 19
(816) 455-2669

Attorneysfor Plainti]jfs

/s/ David S. Baker

 

DAVID S. BAKER

{00341813}

Case 4:16-cv-01086-ODS Document 31 Filed 05/11/18 Page 3 of 3

